                             JUDGMENT ENTRY.
This appeal is considered on the accelerated calendar under App.R. 11.1(E) and Loc.R. 12, and this Judgment Entry shall not be considered an Opinion of the Court pursuant to S.Ct.R.Rep.Op. 3.
Plaintiff-appellant, the state of Ohio, appeals from the judgment of the trial court dismissing an indictment that charged defendant-appellee Glen Evans with carrying a concealed weapon in violation of R.C. 2923.12. In a single assignment of error, the state argues that the trial court erred as a matter of law by dismissing the indictment based on this court's decision that R.C. 2923.12 is unconstitutional.1 We sustain the state's assignment of error on the authority of Klein v. Leis,2
a recent Ohio Supreme Court decision upholding the constitutionality of Ohio's concealed-weapon statute.
Accordingly, we reverse the judgment of the trial court and remand this cause for further proceedings consistent with this judgment entry and the law.
Further, a certified copy of this Judgment Entry shall constitute the mandate, which shall be sent to the trial court under App.R. 27. Costs shall be taxed under App.R. 24.
Winkler, P.J., Doan and Sundermann, JJ.
1 See Klein v. Leis, 146 Ohio App.3d 526, 2002-Ohio-1634,767 N.E.2d 286.
2 99 Ohio St.3d 537, 2003-Ohio-4779, 795 N.E.2d 633.